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            1    CARROLL & ASSOCIATES, P.C.
                 Sheila Lamb Carroll (SBN 142764)
            2    Dacia J. Cenat (SBN 305161)
                 3600 American River Drive, Suite 205
            3    Sacramento, CA 95864
                 Telephone: 916.488.5388
            4    Facsimile: 916.488.5387
                 scarroll@thecarrollfirm.com
            5    dcenat@thecarrollfirm.com
            6    Attorneys for Defendant
                 WILTON RANCHERIA
            7
            8                                UNITED STATES DISTRICT COURT
                                            EASTERN DISTRICT OF CALIFORNIA
            9
          10     UNITE HERE,                               Case No. 2:23-cv-02767-KJM-DB
          11                   Plaintiff,
                                                           MEMORANDUM OF POINTS AND
          12            v.                                 AUTHORITIES IN SUPPORT OF
                                                           WILTON RANCHERIA’S MOTION
          13     WILTON RANCHERIA,                         TO DISMISS UNITE HERE’S
                                                           COMPLAINT AND PETITION TO
          14                   Defendant.                  COMPEL ARBITRATION AND
                                                           SELECTION OF AN ARBITRATOR
          15
                                                           DATE:       January 26, 2024
          16                                               TIME:       10:00 AM
                                                           CTRM:       3 (15th floor)
          17                                               JUDGE:      Hon. Kimberly J. Mueller
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            1                                          I.    INTRODUCTION
            2           Defendant Wilton Rancheria, California (“the Tribe”) hereby moves this Court for an
            3    order dismissing UNITE HERE’s (“the Union”) Verified Complaint and Petition to Compel
            4    Arbitration and Selection of an Arbitrator (“Complaint”) in its entirety. The Tribe makes this
            5    special appearance in good faith and before service has been perfected, based on the grounds
            6    that jurisdiction is not proper, and service has not been properly effectuated. The Tribe takes
            7    this step to protect its interests and because it understands the time sensitive nature of this labor
            8    dispute. By way of this Motion, the Tribe asks the Court to dismiss the Union’s Complaint,
            9    pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(5), because the Court does not
          10     have subject-matter jurisdiction over the Tribe due to the Union’s unripe claim demanding
          11     arbitration and because the Union did not properly serve the Tribe.
          12            The Tribe is a sovereign nation that subjects itself to Federal Court jurisdiction by a
          13     narrowly constructed waiver of sovereign immunity for the very limited purpose of compelling
          14     arbitration or confirming or vacating an award. The gravamen of the dispute is the Union’s
          15     desire to unionize as quickly as possible by way of a one-step “card check”1 process—instead of
          16     the two-step process set forth in the Tribe’s Labor Code, which requires both a card check and
          17     secret ballot election, with set aside rights.2 The Tribe cannot and will not waive these rights
          18     and respectfully notes that this Court does not have jurisdiction over a waiver of Tribal Law.
          19            Most notably, the Court must dismiss the Union’s Complaint, because the Tribe and
          20     Union are already participating in arbitration before Arbitrator Norman Brand, who sits on the
          21     Tribal Labor Panel administered by the American Arbitration Association (“AAA”). The Union
          22     has represented to the Tribe that the arbitration that the Union is seeking to compel is to occur
          23
          24     1
                   The parties use the phrase “card check” when referring to the card authorization process set
          25     forth in the Memorandum of Agreement and the Tribal Labor Relations Ordinance discussed
                 herein.
                 2
          26       This Motion focuses solely on the card check to provide clarity. Each and every issue that the
                 Union seeks arbitration for, such as the dispute about access, fails for identical reasons. As
          27     explained in greater detail below, (i) the arbitration of each issue is contingent on a favorable
          28     award from Arbitrator Brand, and (ii) is presented in a Complaint that has not been properly
                 served on the Tribe.
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            1    after the arbitration that the Tribe and the Union are already participating in.3 Declaration of
            2    Sheila Carroll (“Carroll Decl.”), ¶ 7; see also Pl.’s Compl., Exh. K-1-K-2, 89-90 of 90, ECF No.
            3    1. The issues that the Union requests this Court to compel the parties to arbitrate are undeniably
            4    contingent upon a favorable ruling from Arbitrator Brand. The AAA arbitration is scheduled for
            5    February 8, 2024, and the parties just had their initial joint conference with Arbitrator Brand on
            6    December 15, 2023. Carroll Decl. ¶¶ 3, 18; see also Pl.’s Compl., Exh. K-1-K-2, 89 and 90 of
            7    90, ECF No. 1. Until Arbitrator Brand makes his ruling on the issue currently before him, this
            8    Court has no jurisdiction to compel further arbitration. The AAA arbitration scheduled for
            9    February 8, 2024 must move forward first, as it will determine which documents dictate the
          10     rules of the labor organization process as it relates to critical matters, such as card check
          11     procedures and secret ballot elections.
          12             Moreover, the Union has wholly failed to properly serve the Tribe. For these reasons,
          13     and as discussed below, the Tribe respectfully requests that the Court grant this Motion to
          14     Dismiss the Union’s Complaint. This ruling will allow the AAA arbitration scheduled for
          15     February 8, 2024 to move forward and determine which documents will dictate the rules of the
          16     labor organization process as it relates to critical matters, such as card check procedures and
          17     secret ballot elections.
          18                                    II.    FACTUAL BACKGROUND
          19     A.      Agreements And Laws Involving—And Applicable To—The Parties
          20             1.      The State And Tribe Sign A Compact, Containing A Model Tribal Labor
          21                     Relations Ordinance
          22             The Tribe signed a Tribal-State Gaming Compact between the State of California and
          23     the Tribe (“Compact”) on June 29, 2017, and the Governor of the State of California signed the
          24     Compact on July 19, 2017. RFJN Exh. 1 [Relevant portions of the Compact and the model
          25     TLRO]; Declaration of Christina Kazhe (“Kazhe Decl.”), ¶ 18. The Compact included a model
          26
          27     3
                  To the extent that the Union is pursuing arbitration that is simultaneous with, or in lieu of, the
          28     present arbitration, the Complaint must be dismissed on alternative grounds that will be
                 presented in the Tribe’s Reply.
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            1    Tribal Labor Relations Ordinance, which the Tribe used as a template for its Tribal Labor
            2    Relations Ordinance of 2019 (“TLRO”): the Tribal Law later codified by the Tribal Council (the
            3    Tribe’s legislative body) as Chapter 3 of the Wilton Rancheria Code under “Title 7 – Labor
            4    Code.” RFJN Exhs. 1-2. Pursuant to Section 12.10 of the Compact, the Tribe was required to
            5    adopt an ordinance identical to the model Tribal Labor Relations Ordinance prior to
            6    commencing any gaming activities authorized by the Compact. RFJN Exh. 1, at § 12.10
            7    [Relevant portions of the Compact and the model TLRO]. Specifically, Section 12.10, entitled
            8    “Labor Relations,” provides:
            9           The Gaming Activities authorized by this Compact may only commence after the Tribe
          10            has adopted an ordinance identical to the Tribal Labor Relations Ordinance attached
                        hereto as Appendix C, and the Gaming Activities may only continue as long as the Tribe
          11            maintains the ordinance. The Tribe shall provide written notice to the State that it has
                        adopted the ordinance, along with a copy of the ordinance, before commencing the
          12
                        Gaming Activities authorized by this Compact.
          13
                 Id.
          14
          15            The Union undeniably knew of the Compact between the State and the Tribe while it
          16     was being negotiated and after it was signed. To be clear, the Compact was signed by the Tribe
          17     and State in June and July of 2017, respectively. A month later, in August of 2017, the Union
          18     memorialized the fact that it had “agree[d] to actively support…the Tribe’s efforts to obtain
          19     ratification of the Compact[.]” Pl.’s Compl. Exh. B-3, 32 of 90, ¶ 14, ECF No. 1.
          20            2.      The Parties Enter Into A Memorandum Of Agreement, Incorporating The
          21                    TLRO
          22            In early August 2017, the Tribe, Boyd Gaming Corp., and the Union entered into a
          23     Memorandum of Agreement (“MOA”), wherein the parties agreed to a neutral approach to
          24     unionization of casino employees and to support the Compact. Pl.’s Compl. Exh. B-1-B-4, 30-
          25     33 of 90, ECF No. 1. The MOA became effective on August 7, 2017, which is the date the last
          26     party (the Tribe) signed the MOA. Id. At this time, the Tribe had signed the Compact and was
          27     in the process of obtaining ratification of the Compact. Paragraph 14 of the MOA expressly
          28     references the Compact, its process, and its timeline, stating “[t]he Union hereby agrees to
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            1    actively support…the Tribe’s efforts to obtain ratification of the Compact….” Id. In addition to
            2    paragraph 14, the MOA clearly indicates the intention to be subject to the TLRO. Paragraph 2
            3    of the MOA expressly states that “[t]he parties agree that the Tribal Labor Relations Ordinance
            4    governs labor relations at the Casino, and to hereby establish the following procedure for the
            5    purpose of ensuring an orderly environment for Employees to exercise their rights under the
            6    Tribal Relations Ordinance to organize collectively[.]” Id. Section 16 of the MOA further states:
            7           In the event that any provision of this Agreement should be rendered invalid by
                        applicable legislation…such action shall not invalidate the entire Agreement, it being the
            8           express intention of the parties hereto that all other provisions not rendered invalid shall
            9           remain in full force and effect. Both parties agree that the subject matter of any
                        provision found to be invalid shall be renegotiated for the purpose of replacing the
          10            invalidated provision with a valid substitute which most nearly achieves the same
                        objective.
          11
          12     Id.

          13            As the timeline, the MOA, and the Complaint detail, the Union was directly involved

          14     prior to the effective date of the Compact and supported ratification of the Compact and all its

          15     terms, which necessarily includes Section 12.10 of the Compact. Further, the Union is familiar

          16     with the fact that tribal-state gaming compacts require enactment of an ordinance utilizing the

          17     model Tribal Labor Relations Ordinance, as the requirement has been a part of tribal-state

          18     gaming compacts for years. The Union undoubtedly knew that the Tribe would be required to

          19     adopt Tribal Law with terms nearly identical to the model Tribal Labor Relations Ordinance as

          20     part of the Compact. In fact, the “Tribal Labor Relations Ordinance” was referenced in the

          21     MOA and the parties agreed to adhere to it. There was no surprise or unfair advantage to the

          22     Union when the Tribe enacted the TLRO.

          23            3.      The Compact Becomes Effective

          24            The Compact was not ratified or effective until after execution of the MOA. After tribes

          25     and the State of California agree to, and execute, tribal-state gaming compacts, the compacts are

          26     required to be ratified by the California Legislature and approved by the Secretary of the

          27     Interior before taking effect. With respect to the Tribe’s Compact, the California Legislature

          28     ratified the Compact on or about October 3, 2017. On or about November 19, 2017, the
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            1     Compact was then deemed approved by the Secretary of the Interior, confirmed by letter dated
            2     December 15, 2017. Finally, the Compact took effect upon publication in the Federal Register
            3     on January 22, 2018. Each action was taken without any modification to the Compact, including
            4     Section 12.10 and the model Tribal Labor Relations Ordinance, maintaining the Union’s
            5     complete understanding of the terms of the Compact and the anticipated Tribal Law.
            6            4.      The Tribe Enacts The TLRO
            7            Thereafter, on April 18, 2019, the Tribe enacted the TLRO, as required by the Compact,
            8     and it became part of the Tribe’s Labor Code.
            9            The TLRO is Tribal Law duly enacted by the Tribe pursuant to the authority contained
          10      in the Constitution of Wilton Rancheria (“Constitution”) and the rights and privileges afforded
          11      to sovereign tribes. Pursuant to Article VI, Section 2(a) of the Constitution, the Tribal Council,
          12      the Tribe’s legislative body, has the power to “make all laws, including resolutions, codes, and
          13      statutes.” Pursuant to Section 1-303(A) of the Tribal Council Organization Act of 2012, which
          14      is another Tribal Law codified as Chapter 1 of the Tribe’s Government Code, “[a]cts and/or
          15      statutes shall be the formal tribal laws passed by the Tribal Council in development of the
          16      Tribe’s permanent body of law.” The Tribal Council Organization Act of 2012 then sets forth a
          17      formal three-step legislation process, consisting of an internal review phase, a public review
          18      phase, and a final review phase, that all acts and amendments must go through, subject to
          19      certain exceptions that are not relevant here.
          20             Tribal Council Resolution No. 2019-23 sets forth that the Tribe followed the formal
          21      three-step legislation process in enacting the TLRO. Kazhe Decl., ¶ 20, Exh. I. First, pursuant to
          22      Tribal Council Resolution No. 2019-11, the Tribal Council submitted the proposed TLRO for
          23      public review from February 20, 2019 to March 21, 2019. Second, the Tribal Council conducted
          24      a public hearing regarding the proposed TLRO on March 7, 2019 at the Tribe’s office. Third,
          25      the proposed TLRO was submitted to each member of the Tribal Council for final review on
          26      March 28, 2019. Finally, pursuant to Tribal Council Resolution No. 2019-23 itself, the Tribe
          27      duly enacted the TLRO. Id. Consequently, the Tribe enacted the TLRO as Tribal Law based on
          28      authority independent of the Compact.
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            1     B.     The Parties’ Disagreement Over The Union Recognition Process
            2            Earlier this year it became apparent that the Tribe and Union disagreed over the Union
            3     recognition process and specifically, whether it involved a one-step “card check” process, as the
            4     Union contends, or a two-step process (with both a card check and secret ballot election), as set
            5     forth in the Tribe’s Labor Code.
            6            Ultimately, in early June 2023, the Union’s counsel, Kristin Martin, reached out to the
            7     Tribe’s General Counsel, Christina Kazhe, to inform the Tribe that the Union would like to
            8     select an arbitrator from the Federal Mediation and Conciliation Service (“FMCS”), as the
            9     Union “anticipate[d] asking for the card check to be done in the not too distant future.” Pl.’s
          10      Compl., Exh. G-4, 77 of 90, ECF No. 1. The Tribe’s General Counsel responded by stating that
          11      the Tribe was attempting to reconcile the TLRO and the MOA and invited the Union’s input on
          12      the matter. See e.g., Pl.’s Compl., Exh. G-2, 75 of 90, ECF No. 1. The Union’s counsel then
          13      responded that the Union had no intention of following the TLRO’s union recognition
          14      provision—specifically, the secret ballot election provision—and that it only intended to follow
          15      the MOA. Pl.’s Compl., Exh. G-1-G-2, 74-75 of 90, ECF No. 1. The parties continued their
          16      discussion over the following two months but given that the Union was unwilling to follow the
          17      TLRO, the parties were unable to reach any resolution. Kazhe Decl., ¶¶ 3-10, Exhs. A
          18      [Correspondence dated June 30, 2023 from K. Martin], B [Email thread beginning June 30,
          19      2023], C [Email thread beginning July 7, 2023].
          20      C.     Arbitration Is Pending Before AAA
          21             On August 18, 2023, the Tribe submitted its Demand for Arbitration to AAA, requesting
          22      that the Tribal Labor Panel resolve its dispute with the Union. Pl.’s Compl., Exh. J-1-J-2, 86-87
          23      of 90, ECF No. 1; see also Kazhe Decl., ¶ 11. The Tribe described its grievance (“Grievance”)
          24      as follows:
          25             Pursuant to the Tribal-State Gaming Compact between the State of California and
                         Wilton Rancheria, Wilton Rancheria was required to adopt and maintain Tribal Law
          26             identical to the Tribal Labor Relations Ordinance attached to the Compact. To comply
          27             with this requirement, Wilton Rancheria enacted the Tribal Labor Relations Ordinance
                         of 2019 (“TLRO”), codified as Chapter 3 of the Wilton Rancheria Labor Code, on April
          28             18, 2019. The TLRO provides for a two-step certification process before an arbitrator
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            1            from the Tribal Labor Panel: (1) dated and signed authorization cards from thirty percent
                         (30%) or more of the Eligible Employees; and (2) a secret ballot election requiring more
            2            than fifty percent (50%) of Eligible Employees. The TLRO requires all issues to be
            3            resolved by a resolution by the Tribal Labor Panel. Respondent refuses to comply with
                         the two-step certification process and the dispute resolution mechanism identified in the
            4            TLRO, relying on a Memorandum of Agreement (MOA) signed by the parties on
                         August 7, 2017, prior to the enactment of the Tribe’s TLRO.
            5
            6     Pl.’s Compl., Exh. J-1-J-2, 86-87 of 90, ECF No. 1. Thus, the Tribe sought the following
            7     remedy: “A determination that Respondent must comply with the two-step certification process
            8     identified in the TLRO and resolve any disputes pursuant to the dispute resolution mechanism
            9     identified in the TLRO.” Id.
          10             That same day, August 18, 2023, the Tribe filed a Petition in the Wilton Rancheria
          11      Tribal Court seeking to compel arbitration, given the Union’s prior refusal to agree to arbitrate
          12      the dispute. Kazhe Decl., ¶ 12, Exh. D [Petition]. Thereafter, the Union made repeated
          13      assurances that the Union will engage in the arbitration, fully understanding the narrow
          14      Grievance and remedy described above, resulting in two extensions of the Union’s answer
          15      deadline and a stay in the Wilton Rancheria Tribal Court proceeding. Id., ¶ 13, Exh. E [Three
          16      Tribal Court Orders].
          17             On October 17, 2023, the Union’s counsel confirmed, in no uncertain terms, that the
          18      Union “will agree to arbitrate, under the TLRO’s arbitration procedures, the dispute about
          19      whether the MOA between the Tribe, Boyd, and [the Union] violates the TLRO.” Kazhe Decl.,
          20      ¶ 14, Exh. F [Email dated Oct. 17, 2023 from K. Martin]. Undeniably, the Union’s counsel
          21      agreed to the present arbitration, including the specific Grievance, albeit while
          22      mischaracterizing the issue.
          23             On November 7, 2023, the parties agreed to use Arbitrator Norman Brand from the
          24      Tribal Labor Panel to hear the Grievance brought by the Tribe. Kazhe Decl., ¶ 15, Exh. G
          25      [Email thread beginning on Nov. 2, 2023].
          26             On December 15, 2023, the parties had their first call with Arbitrator Brand. Carroll
          27      Decl., ¶ 18. During that call, he addressed the dispute at issue and set a briefing schedule. Id.
          28      ///
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            1            Accordingly, the Tribe and the Union have agreed to the pending arbitration before
            2     Arbitrator Brand, including the specific Grievance and remedy sought. The arbitration hearing
            3     has been scheduled for February 8, 2024. Pl.’s Compl., Exh. K-2, 90 of 90, ECF No. 1.
            4     D.     The Tribe’s Counsel Met and Conferred With The Union’s Counsel Regarding The
            5            Union’s Defective Demand For Arbitration
            6            On November 29, 2023, the Union filed its Complaint. Pl.’s Compl., ECF No. 1. Shortly
            7     thereafter, on December 4, 2023, the Tribe’s counsel, Sheila Carroll, and the Union’s counsel,
            8     Kristin Martin, had a telephone conversation to discuss the Union’s Complaint. Carroll Decl., ¶
            9     7. The Tribe’s counsel was unable to reach an agreement with the Union’s counsel on any
          10      issues related to the Union’s Complaint. Id. Consequently, during that conversation, the Tribe’s
          11      counsel informed the Union’s counsel that the Tribe intends to bring a Motion to Dismiss and
          12      briefly stated the grounds upon which the Motion to Dismiss would be based. Id. Thereafter, in
          13      subsequent emails between counsel and during a further telephone conversation on December
          14      15, 2023, the Tribe’s counsel further met and conferred with the Union’s counsel, while
          15      discussing the substance for the Tribe’s Motion to Dismiss to the Union’s counsel. Id. at ¶¶ 8-
          16      17, 19, Exhs. M [Email thread beginning on Nov. 30, 2023], N [Email thread beginning on Dec.
          17      12, 2023]. Despite the Tribe’s efforts to meet, confer, and reach a resolution with the Union and
          18      its counsel, no resolution or settlement was achieved. Id. All meet and confer efforts have been
          19      exhausted. Id. at ¶ 19.
          20                                        III.    LEGAL STANDARD
          21             Federal Rule of Civil Procedure 12(b)(1) allows a party to assert the Court’s lack of
          22      subject-matter jurisdiction by way of a motion to dismiss. Federal Rule of Civil Procedure
          23      12(h)(3) also states that “[i]f the court determines at any time that it lacks subject-matter
          24      jurisdiction, the court must dismiss the action.” Federal courts presume that they lack
          25      jurisdiction, and the plaintiff bears the burden of establishing jurisdiction. Kokkonen v.
          26      Guardian Life Ins. Co., 511 U.S. 375, 377 (1994) (once jurisdiction is raised, the Court
          27      presumes that “a cause lies outside [its] limited jurisdiction” and “the burden of establishing the
          28      contrary rests upon the party asserting jurisdiction”). To meet this burden at the pleading stage,
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            1     “[t]he plaintiff must allege facts, not mere legal conclusions, in compliance with the pleading
            2     standards established by Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007), and Ashcroft v.
            3     Iqbal, 556 U.S. 662 (2009)” that provide the grounds to invoke a federal court’s subject-matter
            4     jurisdiction. Leite v. Crane Co., 749 F.3d 1117, 1121 (9th Cir. 2014).
            5            Additionally, Federal Rule of Civil Procedure 12(b)(5) allows a party to bring a motion
            6     to dismiss for insufficient service of process. “Service of process, under longstanding tradition
            7     in our system of justice, is fundamental to any procedural imposition on a named defendant.”
            8     Murphy Bros. v. Michetti Pipe Stringing, 526 U.S. 344, 350 (1999). In the absence of service of
            9     process, a court may not exercise power over the defendant. Id. The plaintiff bears the burden of
          10      establishing that service is valid under Federal Rule of Civil Procedure 4 in response to a
          11      motion to dismiss based upon insufficient service of process. Brockmeyer v. May, 383 F.3d 798,
          12      801 (9th Cir. 2004); Elite Semiconductor, Inc. v. Anchor Semiconductor, Inc., 2021 U.S. Dist.
          13      LEXIS 243389, *16, 2021 WL 6049906 (N.D. Cal. 2021).
          14                                        IV.     LEGAL ANALYSIS
          15      A.     The Court Should Grant The Tribe’s Motion To Dismiss Based Upon Federal Rule
          16             Of Civil Procedure 12(b)(1) For Lack Of Subject-Matter Jurisdiction
          17             1.      Arbitrator Brand’s Decision Is A Condition Precedent To Any Further
          18                     Arbitration
          19             As the Union points out in its Complaint, the Tribe and the Union entered into a MOA.
          20      But contrary to the Union’s steadfast contention, the discussion does not start—or end—solely
          21      with the MOA. The Union blatantly ignores the fact that the MOA—notably, paragraph 2 of the
          22      MOA—expressly incorporates Tribal law into the MOA. The MOA says nothing about
          23      disregarding the TLRO codified as Chapter 3 of the Tribe’s Labor Code, which is essentially
          24      what the Union is asking this Court to do. Notably, the Union was fully aware of the future
          25      legislation at the time the Union executed the MOA. The Compact contains a model Tribal
          26      Labor Relations Ordinance, which the Tribe was required to adopt and maintain pursuant to
          27      Section 12.10 of the Compact (in order to open and operate a casino). Pursuant to Paragraph 14
          28      of the MOA, the Union agreed to, and actually did, actively support ratification of the Compact,
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            1     which included the above requirement to enact the TLRO. Pl.’s Compl. ¶¶ 12-14, ECF No. 1.
            2     Although the language of the model Tribal Labor Relations Ordinance is nearly identical to the
            3     codified TLRO, the documents are, in fact, not the same—despite the Union’s efforts to equate
            4     the two by attaching and basing arguments off of the model Tribal Labor Relations Ordinance
            5     and not the codified TLRO. The codified TLRO is Tribal Law that must be followed and cannot
            6     be ignored. Despite all of this, the Union now ignores the requirements set forth in the TLRO
            7     and treats the MOA as if it is the only document governing the parties. In doing so, the Union
            8     ignores the fact that the Tribe is in fact a sovereign nation. The Union’s position also flies in the
            9     face of (1) the MOA—specifically, paragraph 2 of the MOA—which solidifies that “[t]he
          10      parties agree that the Tribal Labor Relations Ordinance governs labor relations at the
          11      Casino….”, and (2) Tribal law—to which the parties are presently bound to follow (and to
          12      which this Court must honor).
          13             The MOA and TLRO both set forth procedures for (1) selecting an arbitrator or election
          14      officer to oversee the union recognition process, including the card check process, and (2)
          15      resolving disputes through arbitration. The TLRO provides that the election officer shall be a
          16      member of the Tribal Labor Panel and that any arbitration shall take place before the Tribal
          17      Labor Panel, whereas the MOA provides that the arbitrator shall be chosen from a panel of
          18      arbitrators from the FMCS or from any other source that the parties agree and that the
          19      arbitration should take place before the FMCS or before an arbitrator selected from any other
          20      source. The Tribe already demanded arbitration before the Tribal Labor Panel, and the Union
          21      agreed and promptly participated in the arbitrator selection process. Kazhe Decl., ¶¶ 14-15,
          22      Exhs. F [Email dated Oct. 17, 2023 from K. Martin], G [Email thread beginning on Nov. 7,
          23      2023]; see also Pl.’s Compl., Exh. K-1-K-2, 89 and 90 of 90, ECF No. 1. The Union knew the
          24      scope of the issue before the Tribal Labor Panel before it agreed to Arbitrator Brand, and the
          25      Union’s counsel has reached out to Arbitrator Brand and the case administrator since that
          26      selection. Id. The issue that is currently before Arbitrator Brand is narrow in scope and concerns
          27      the Grievance set forth in the Demand for Arbitration filed by the Tribe. Pl.’s Compl. Exh. J-1-
          28      J-2, 86-87 of 90, ECF No. 1. The issue undeniably involves whether the Union must abide by
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            1     the procedures set forth for union recognition in the TLRO (which is expressly incorporated into
            2     the MOA). Id. Regardless of the Union’s contention that the TLRO does not apply to it, the
            3     Union has already agreed to arbitrate this issue before Arbitrator Brand. The issue before
            4     Arbitrator Brand is in the process of being decided – and must be decided – before any more
            5     issues are compelled to arbitration, especially in a different forum than the one currently being
            6     used: AAA. Legal counsel for the Union impermissibly attempted to broaden the scope of the
            7     AAA arbitration by way of a letter to Arbitrator Brand, and then, without waiting for any
            8     response from Arbitrator Brand, asked this Court to compel the Tribe to another arbitration so
            9     that the parties may select an arbitrator to handle the card check process. Carroll Decl., ¶ 4, Exh.
          10      J [Correspondence dated Nov. 28, 2023 from K. Martin]. The Tribe responded, noting that such
          11      expansion was (i) inappropriate under the TLRO and the AAA rules, (ii) highly speculative, and
          12      (iii) premature. Id. at ¶ 5, Exh. K [Correspondence dated Nov. 29, 2023 from S. Carroll]. During
          13      the initial joint conference with Arbitrator Brand on December 15, 2023, Arbitrator Brand
          14      discussed the dispute before him and outlined a briefing schedule for the February 8, 2024
          15      arbitration. Id. at ¶ 18. The Union has chosen not to wait to file its own Demand for Arbitration
          16      to request a card check if and when a decision is made in their favor, and once the deadlines to
          17      set aside a decision expire. Instead, the Union chose to bring this Complaint before this Court,
          18      without going through the proper process, in an attempt to rob the Tribe of its ability to govern
          19      itself, as it is lawfully entitled.
          20              In its Complaint, the Union asks this Court to compel the Tribe to select an arbitrator
          21      with FMCS, who can conduct a dispositive card check set forth by the MOA, and to “submit
          22      any disputes about the interpretation or application of the [MOA]” before FMCS. Pl.’s Compl.
          23      8-9 of 90, ECF No. 1. However, the parties cannot yet arbitrate the issues that the Union asks
          24      this Court to compel to arbitration, as the Union’s arbitration demand is contingent upon a
          25      favorable ruling from Arbitrator Brand, finding that the Union does not need to follow the
          26      procedures set forth in the TLRO for union recognition, including both a card check and secret
          27      ballot election. To be clear, if Arbitrator Brand finds in the Union’s favor, and the Tribe
          28      exhausts its remedies to set aside the decision, then at that point in time, the Union could move
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            1     this Court to compel arbitration before FMCS provided that the Tribe refused to arbitrate.
            2     (Notably, this has not happened.) However, if Arbitrator Brand finds in the Tribe’s favor, then it
            3     would be wholly improper for the Union to ask this Court to compel arbitration before FMCS,
            4     as the Union would need to follow the procedures and requirements set forth in the TLRO
            5     instead, meaning that the arbitration would be before the Tribal Labor Panel—not FMCS.
            6     Therefore, Arbitrator Brand’s decision is a condition precedent to the arbitration that the Union
            7     is seeking, and this means that the Union’s Complaint is not yet ripe.
            8            2.      Ripeness Limits The Power Of Federal Courts To Adjudicate Disputes
            9            Ripeness is a question of timing. Regional Rail Reorganization Act Cases, 419 U.S. 102,
          10      140 (1974). It is a constitutional and jurisdictional doctrine derived from Article III’s “case or
          11      controversy” clause. See e.g., State Farm Mut. Auto Ins. Co. v. Dole, 802 F.2d 474, 479 (D.C.
          12      Cir. 1986), cert. denied, 480 U.S. 951 (1987). Because ripeness—or the lack thereof—is a
          13      jurisdictional issue, the Ninth Circuit requires federal courts to resolve ripeness issues before
          14      deciding the merits. Kerr-McGee Chemical Corporation v. United States Department of the
          15      Interior, 709 F.2d 597, 600 (9th Cir. 1983); Pacific Legal Foundation v. State Energy
          16      Resources Conservation & Development Commission, 659 F.2d 903. 910 (9th Cir. 1981), aff’d
          17      in Pacific Gas and Electric Co. v. State Energy Resources, 461 U.S. 190 (1983).
          18             “The ‘basic rationale’ of Article III ripeness doctrine ‘is to prevent the courts, through
          19      avoidance of premature adjudication, from entangling themselves in abstract disagreements.’”
          20      Clinton v. Acequia, Inc., 94 F.3d 568, 572 (9th Cir. 1996) (citations omitted). Federal courts
          21      normally ought not resolve issues “involving ‘contingent future events that may not occur as
          22      anticipated, or indeed may not occur at all.’” Thomas v. Union Carbide Agric. Prods. Co., 473
          23      U.S. 568, 580-81 (1985) (quoting 13A C. Wright, A. Miller, & E. Cooper, Federal Practice and
          24      Procedure § 3532 (1984)). The central concern in the ripeness inquiry “is whether the case
          25      involves uncertain or contingent future events that may not occur as anticipated, or indeed may
          26      not occur at all.” Chandler v. State Farm Mut. Auto Ins. Co., 598 F.3d 1115, 1122–23 (9th Cir.
          27      2010) (quoting Richardson v. City and County of Honolulu, 124 F.3d 1150, 1160 (9th Cir.
          28      1997); citing 13A Charles Alan Wright et al., Federal Practice and Procedure § 3532 at 112 (2d
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            1     ed. 1984)).
            2             3.      The Union’s Claim Demanding Arbitration Is Unripe, As No Substantial And
            3                     Immediate Controversy Exists Or Is Otherwise Ripe For Review
            4             Under the current facts and circumstances, the Union’s claim (for an order compelling
            5     the Tribe to arbitration) is not yet ripe, as it presents no live case or controversy. This is because
            6     the parties are already participating in an arbitration proceeding before the Tribal Labor Panel
            7     and the outcome of that arbitration is a condition precedent to the Union’s arbitration demand in
            8     the instant case.
            9             As set forth above, the Union is asking this Court to compel the Tribe to select an
          10      arbitrator with FMCS, who can conduct a card check process, and to “submit any disputes about
          11      the interpretation or application of the [MOA]” before FMCS. Pl.’s Compl. 8-9 of 90, ECF No.
          12      1. The Union completely ignores the fact that arbitration is already pending, and that arbitration
          13      will dictate what the Union can or cannot ask this Court to do. Markedly, this Court cannot
          14      compel the parties to further arbitration unless and until Arbitrator Brand finds in the Union’s
          15      favor. To be clear, if Arbitrator Brand finds in the Union’s favor (that the Union does not need
          16      to follow the procedures set forth in the TLRO for union recognition or dispute resolution), and
          17      the Tribe exhausts its remedies to set aside the decision, then at that point in time, the Union
          18      could move this Court to compel arbitration before FMCS provided that the Tribe refused to
          19      arbitrate. These events have not occurred yet, and therefore, the Union’s claim demanding
          20      arbitration is not yet ripe. This is because if Arbitrator Brand finds in the Tribe’s favor (that the
          21      Union needs to follow the procedures and requirements for union recognition and dispute
          22      resolution set forth in the TLRO), or Arbitrator Brand provides some other dispute resolution
          23      mechanism (such as resolving disputes before a neutral arbitrator that is neither the FMCS nor
          24      the Tribal Labor Panel), then the Union cannot demand that this Court compel arbitration before
          25      FMCS. Therefore, Arbitrator Brand’s decision is a condition precedent to the further arbitration
          26      that the Union is seeking.
          27              The case of Aydin Corp. v. Union of India, 940 F.2d 527 (9th Cir. 1991) is instructive. In
          28      Aydin, the plaintiff filed suit for declaratory relief, in the United States District Court for the
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            1     Northern District of California, while an arbitration proceeding was taking place in India. Id.
            2     The plaintiff asked the District Court to declare that any award from the pending arbitration
            3     would not be enforceable against it in the United States. Id. The issue became whether the
            4     enforceability of an arbitration award “that has yet to be awarded is ‘of sufficient immediacy
            5     and reality’ such that it is ripe for review.” Id. at 528. The Ninth Circuit affirmed the District
            6     Court’s dismissal of the claim for want of jurisdiction, finding that “[t]he future existence and
            7     enforcement … of an Indian [arbitration] award against [the plaintiff] is speculative.” Id. at 528.
            8     The Court noted that it had no “doubt that [the plaintiff] would find such a favorable declaration
            9     helpful,” given that the plaintiff “might use such a pronouncement to persuade [defendant] to
          10      settle the dispute or forego the pending arbitration.” Id. at 528-28. But the Court held that there
          11      was no ripe Article III case or controversy, since the dispute was not yet “sufficiently immediate
          12      and real.” Id. at 529. Like Aydin, the Union’s Complaint fails to allege any controversy that is
          13      sufficiently immediate and real to confer jurisdiction on this Court.
          14              Likewise, the case of Cristo v. U.S. SEC, 2020 U.S. Dist. LEXIS 127219, *12-18, 2020
          15      WL 4040340 (S.D. Cal. July 17, 2020) is also instructive. In Cristo, there was an underlying
          16      arbitration pending at the time the plaintiff filed a separate federal court action. Id. at *8, 12.
          17      The Court noted that the outcome of the arbitration had not yet been determined and that the
          18      plaintiff failed to show, and could not show, that he had suffered any concrete injury or
          19      imminent harm. Id. at *16. Thus, the Court explained that plaintiff’s allegations “concern[ed]
          20      conduct currently pending with the arbitration panel which are not yet concluded, and are
          21      therefore, not ripe.” Id. Consequently, the Court found that it lacked subject-matter jurisdiction
          22      over the plaintiff’s unripe claims. Id. at *17. In making its decision, the Court heavily relied on
          23      the case of Habliston v. FINRA Regulation, Inc., 2017 U.S. Dist. LEXIS 11691, 2017 WL
          24      396580 (D.D.C. Jan. 27, 2017).
          25              In Habliston, 2017 U.S. Dist. LEXIS 11691, the plaintiffs filed a complaint in federal
          26      court while arbitration was pending. Id. at *1. The plaintiffs alleged that their rights were
          27      violated due to an allegedly unfair arbitration process. Id. at *5. The Court found that “[s]ince
          28      the arbitration [wa]s still ongoing, plaintiffs’ challenge to the proceeding [wa]s not ripe for
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            1     review.” Id. at *11. Thus, the Court dismissed plaintiffs’ unripe claims. Id. at *12.
            2             Lastly, the case of Synopsys, Inc. v. Siemens Indus. Software, No. 20-cv-04151-WHO,
            3     2021 U.S. Dist. LEXIS 65099, 2021 WL 1238309 (N.D. Cal. Apr. 2, 2021) is also instructive.
            4     In Synopsys, the parties executed an agreement, which, among other things, granted a license to
            5     use certain patents and contained a three-step dispute resolution process: (1) informal attempts
            6     to settle; (2) mediation; and (3) arbitration if the parties fail to resolve the dispute in mediation.
            7     Id. at *3-4. The defendant moved to stay the federal proceeding pending arbitration, while the
            8     plaintiff opposed, stating “that there is not yet any issue referable to arbitration because the
            9     parties have not completed the first two steps of the PLSA’s three step grievance procedures.”
          10      Id. at *6-8. As the Northern District of California Court states, “[t]he primary question then, is
          11      whether [the Court] should, or must, stay this action under § 3 of the FAA where (1) the parties
          12      have agreed to arbitrate any dispute regarding the scope of the PLSA’s license over the
          13      20.1.rel.1.0 release of Aprisa once the first two steps of the PLSA’s grievance procedures have
          14      been satisfied; and (2) the first two steps of the PLSA’s grievance procedures have indisputably
          15      not been satisfied.” Id. at *9. The Court “conclude[d] that the parties have not triggered the
          16      [agreement’s] arbitration provision and that a stay under the FAA is premature.” Id. at *10. The
          17      Court highlighted that several cases “indicate that where it is clear the conditions precedent to
          18      an arbitration provision have not been met, the arbitration provision is not triggered, and the
          19      FAA’s provisions do not apply.” Id. at *11.
          20              Similarly, the Tribe and the Union have agreed to arbitrate before Arbitrator Brand the
          21      fundamental dispute of whether the Union must comply with the two-step certification process
          22      identified in the TLRO and resolve any disputes pursuant to the dispute resolution mechanism
          23      identified in the TLRO. Pl.’s Compl. Exh. J-1-J-2, 86-87 of 90, ECF No. 1. Until Arbitrator
          24      Brand issues his decision, it is premature for the Union to ask this Court to order another
          25      arbitration, as the Union’s claim demanding arbitration is contingent upon a favorable ruling
          26      from Arbitrator Brand, finding that the Union does not have to follow the procedures set forth in
          27      the TLRO.
          28      ///
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            1            At this point in time, the Court lacks jurisdiction over the Tribe to determine how and
            2     when an additional arbitration will occur. Accordingly, the Court should dismiss the Union’s
            3     claim demanding arbitration, as it is not yet ripe.
            4     B.     The Court Should Grant The Tribe’s Motion To Dismiss Based Upon Federal Rule
            5            Of Civil Procedure 12(b)(5) For Insufficient Service Of Process, Because The Union
            6            Did Not Properly Serve The Tribe
            7            Federal Rule of Civil Procedure 4 sets forth the requirements for properly effectuating
            8     service of a complaint and summons upon a defendant. The Union has not complied with the
            9     requirements of Federal Rule of Civil Procedure 4, and therefore, the Tribe denies that the
          10      Union has properly served the Tribe with the Complaint or Summons. As set forth above, when
          11      a defendant brings a motion to dismiss based upon insufficient service of process, the plaintiff
          12      bears the burden of establishing that service is valid under Federal Rule of Civil Procedure 4.
          13      Brockmeyer, 383 F.3d at 801; Elite Semiconductor, Inc., 2021 U.S. Dist. LEXIS 243389, at *16.
          14             In an effort to cooperate with the Union’s counsel, the Tribe’s counsel agreed to accept
          15      service of the Complaint (and Summons) via a Notice and Acknowledgement of Receipt, which
          16      the Tribe’s counsel would then sign and return within 20 days. Carroll Decl., ¶¶ 7, 9, Exh. M
          17      [Email thread beginning on Nov. 30, 2023]. This agreement to accept service was unequivocally
          18      contingent upon the Union providing the Tribe with a Notice and Acknowledgement of Receipt.
          19      Id. The Union’s counsel responded that the deadlines associated with a Notice and
          20      Acknowledgement of Receipt wouldn’t work with the Union’s schedule, and therefore, chose
          21      not to proceed with service via a Notice and Acknowledgement of Receipt. Id. at ¶ 10. Instead,
          22      the Union’s counsel merely mailed the Tribe’s counsel and General Counsel the Complaint and
          23      Summons. Id. at ¶¶ 11-12; Kazhe Decl., ¶ 16. Federal Rule of Civil Procedure 4 does not allow
          24      plaintiff’s counsel to merely mail defense counsel copies of the Complaint and Summons,
          25      especially when defense counsel has not agreed to waive service. The Tribe’s counsel
          26      specifically stated that the only way she could accept service was via a Notice and
          27      Acknowledgement of Receipt, otherwise she did “not have authority and [the Union] will need
          28      to proceed by personal service if not serving by notice of acknowledgement.” Carroll Decl., ¶ 9,
Carroll &                                                  16
Associates, PC
                                                                          Case No. 2:23-cv-02767-KJM-DB
                  MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF WILTON RANCHERIA’S MOTION TO
                  DISMISS UNITE HERE’S COMPLAINT AND PETITION TO COMPEL ARBITRATION AND SELECTION OF
                                                    AN ARBITRATOR
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            1     Exh. M [Email thread beginning on Nov. 30, 2023].
            2            Without a signed Notice and Acknowledgement of Receipt, the Union’s attempt to serve
            3     the Tribe’s counsel via mail is improper. Accordingly, the Court should dismiss the Union’s
            4     Complaint upon this additional ground.
            5                                         V.     CONCLUSION
            6            For the reasons set forth above, the Tribe’s Motion to Dismiss should be granted. The
            7     Court does not have subject-matter jurisdiction over the Tribe since the Union’s claim
            8     demanding arbitration is unripe. Moreover, the Union failed to properly serve the Tribe. By
            9     granting this Motion to Dismiss, the parties will be able to move forward with the AAA
          10      arbitration on February 8, 2024, and then move forward with any subsequent arbitration as
          11      needed and pursuant to the appropriate governing rules thereafter.
          12
          13      Dated: December 18, 2023
          14                                                   CARROLL & ASSOCIATES PC
          15
          16                                           By:     /s/ Sheila Lamb Carroll
                                                               Sheila Lamb Carroll (SBN 142764)
          17                                                   Dacia J. Cenat (SBN 305161)
                                                               Attorneys for Wilton Rancheria
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Carroll &                                                  17
Associates, PC
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